Case 2:20-cv-00176-LEW Document 3-5 Filed 05/15/20 Page 1 of 3                     PageID #: 49




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


 BAYLEY’S CAMPGROUND, INC.,                   )
 Cumberland County, State of Maine            )
 and                                          )
 FKT RESORT MANAGEMENT, LLC,                  )
 et al.                                       )
                                              )
                        Plaintiff             )     Civil Action Docket No. ________________
                                              )
 v.                                           )
                                              )
 GOVERNOR JANET MILLS, in her                 )
 capacity as the Governor of State of         )
 Maine                                        )
                                              )
                        Defendant             )



                        DECLARATION OF JAMES E. BOISVERT

       Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of the

United States of America that the foregoing declaration is true and correct to the best of my

knowledge and belief and that such facts are made based on my personal knowledge.

       I, James E. Boisvert, being duly sworn, do depose and say as follows:

       1.      I am a resident of Maine living at 47 Evergreen Farm Road, Scarborough, Maine.

       2.      I make this affidavit based on my personal knowledge of the facts stated herein.

       3.      I am an employee of Bayley’s Campground.

       4.      I also own a home in Venice, Florida.

       5.      On Monday, May 18, 2020, I am travelling to the Portsmouth International

Airport in Portsmouth, New Hampshire. I will be flying on Allegiant Airways to Venice,

Florida, returning to Maine May 29, 2020.
Case 2:20-cv-00176-LEW Document 3-5 Filed 05/15/20 Page 2 of 3                        PageID #: 50




       6.        I also have friends in New Hampshire I visit occasionally. It is my understanding

that any travel to New Hampshire would require a 14-day quarantine period upon my return to

Maine. Absent the 14-day quarantine requirement, I would temporarily travel to New

Hampshire to associate with friends, visit businesses, and simply take trips through New

Hampshire for a variety of purposes.

       7.        It is my understanding that quarantine requires the person remain at home, not

interact with others, and precludes, among other activities, engaging in commerce.

       8.        I travel observing social distancing and CDC guidance and recommendations.

       9.        Similarly, it is my understanding that upon returning to Maine May 29, 2020, a

14-day quarantine period will be required.

       10.       The 14-day quarantine requirement is being actively enforced by law enforcement

with the threat of criminal penalties.

       11.       The Governor’s Executive Order requiring quarantine does not provide due

process for me to challenge or appeal any enforcement action taken against me if I elect not to

quarantine upon my return to Maine. I reasonably fear criminal prosecution if I do not abide by

the 14-day quarantine period.

       12.       There is no notice and no opportunity for an individual to be heard if ordered or

required to be quarantined or prosecuted for failure to comply, and there is no right to appeal this

determination.

       13.       The 14-day quarantine is required regardless of whether: (i) any Plaintiff has

contracted the disease; (ii) there is any particular assessment of the likelihood of contracting the

disease from the activity in question; and (iii) any Plaintiffs took the CDC recommended safety

precautions so as to make their contracting the disease unlikely.
Case 2:20-cv-00176-LEW Document 3-5 Filed 05/15/20 Page 3 of 3                      PageID #: 51




         14.    I have not displayed any symptoms of the COVID-19 disease and, to the best of

my knowledge, I do not have the COVID-19 disease.

         Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of the

United States of America that the foregoing declaration is true and correct to the best of my

knowledge and belief and that such facts are made based on my personal knowledge.



Dated:    May 15, 2020                                /s/ James E. Boisvert
                                                      James E. Boisvert
